883 F.2d 842
    Jacqueline W. DAVIS, Plaintiff-Appellant,v.Margaret M. HECKLER, Defendant-Appellee.
    No. 85-2867.
    United States Court of Appeals,Ninth Circuit.
    Sept. 1, 1989.
    
      1
      Before FERGUSON and LEAVY, Circuit Judges, and WILSON*, District judge.
    
    
      2
      Prior report:  868 F.2d 323.
    
    
      3
      The opinion filed February 13, 1989, is withdrawn.
    
    
      
        *
         Honorable Stephen V. Wilson, United States District Judge for the Central District of California, sitting by designation
      
    
    